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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF FLORIDA
                             TALLAHASSEE DIVISION

UNITED STATES OF AMERICA

vs.                                             CASE NO. 4:07-CR-034-SPM

THEODORE HARRIS,

           Defendant.
________________________________/

                           ACCEPTANCE OF GUILTY PLEA

        PURSUANT TO the Report and Recommendation (doc. 35) of the United States

Magistrate Judge, to which there have been no timely objections, and subject to the

Court’s consideration of any plea agreement pursuant to Federal Rule of Criminal

Procedure 11(e)(2), the plea of guilty of the defendant, THEODORE HARRIS, to Counts

Six, Seven, Eight, Nine and Ten of the indictment is hereby ACCEPTED. All parties

shall appear before this Court for sentencing as directed.

        DONE AND ORDERED this fifteenth day of June, 2007.



                                     s/ Stephan P. Mickle
                                  Stephan P. Mickle
                                  United States District Judge
